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 6
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 7 Communications, LLC
 8
                        UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
     ENTROPIC COMMUNICATIONS,                Case No. 2:22-cv-07775-JWH-JEM
11
     LLC,                                    (Lead Case)
12
     Plaintiff,                              SUPPLEMENTAL NOTICE OF
13
                                             INTERESTED PARTIES
14          v.
15
     DIRECTV, LLC and
16   AT&T SERVICES, INC.,
17
     Defendants.
18                                           Case No. 2:22-cv-07959-JWH-JEM
     ENTROPIC COMMUNICATIONS,                (Member Case)
19   LLC,
20   Plaintiff,
21          v.
22   DISH NETWORK CORPORATION,
     DISH NETWORK L.L.C., and
23   DISH NETWORK SERVICE L.L.C.,
24
     Defendants.
25
26
27
28

                                             1
                       SUPPLEMENTAL NOTICE OF INTERESTED PARTIES
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 1         Pursuant to Local Rule 7.1-1, the undersigned, counsel of record for Plaintiff
 2 Entropic Communications, LLC (“Plaintiff”), certifies that the following listed party (or
 3 parties) may have a pecuniary interest in the outcome of this case. Plaintiff submits this
 4 Supplemental Notice of Interested Parties to address publicly available information that
 5 has come to Plaintiff’s attention. These representations are made to enable the Court to
 6 evaluate possible disqualification or recusal.
 7    Entropic Communications LLC                Plaintiff; wholly owned subsidiary of
 8                                               Entropic Holdings LLC.
 9    Entropic Holdings LLC                      Entropic Holdings LLC is a privately held
10                                               limited liability company with an interest
11                                               in the outcome of the action.
12    FIG LLC (d/b/a Fortress Investment         FIG LLC (d/b/a Fortress Investment
13    Group)                                     Group) and/or its wholly-owned
14                                               subsidiaries are investment advisors to
15                                               private investment funds that own
16                                               Entropic Holdings LLC, and may have an
17                                               interest in the outcome of the action.
18    MaxLinear, Inc.                            MaxLinear, Inc. is the prior assignee of
19                                               one or more of the patents in suit, and has
20                                               an interest in the outcome of the action.
21    MaxLinear Communications LLC               MaxLinear Communications LLC is the
22                                               prior assignee of one or more of the
23                                               patents in suit, and has an interest in the
24                                               outcome of the action.
25         Pursuant to the Court’s Order of August 28, 2023 (ECF No. 278), requiring that
26 Plaintiff file an updated Notice of Interested Parties identifying any investment fund or
27 individual investor that owns more than 10% of Entropic Holdings LLC, Plaintiff
28 discloses the following additional lists of entities.

                                                 2
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 1          For purposes of Section IV.2.a. of the Court’s Order, Plaintiff discloses the
 2 following:
 3   FIP UST LP                                FIP UST LP is an investment fund entity,
 4                                             which directly owns 50% of Entropic
 5                                             Holdings LLC.
 6   Fortress Intellectual Property            Fortress Intellectual Property
 7   Opportunities Fund I (A) LP               Opportunities Fund I (A) LP is an
 8                                             investment fund entity, which indirectly
 9                                             owns approximately 19% of Entropic
10                                             Holdings LLC.
11   Fortress Intellectual Property            Fortress Intellectual Property
12   Opportunities Fund I (B) L.P.             Opportunities Fund I (B) L.P. is an
13                                             investment fund entity, which indirectly
14                                             owns approximately 13% of Entropic
15                                             Holdings LLC.
16   Fortress Intellectual Property            Fortress Intellectual Property
17   Opportunities Fund I (C) L.P.             Opportunities Fund I (C) L.P. is an
18                                             investment fund entity, which indirectly
19                                             owns approximately 18% of Entropic
20                                             Holdings LLC.
21   FCOF V UST LLC                            FCOF V UST LLC is an investment fund
22                                             entity, which directly owns
23                                             approximately 33% of Entropic Holdings
24                                             LLC.
25   Fortress Credit Opportunities Fund (A)    Fortress Credit Opportunities Fund (A)
26   L.P.                                      L.P. is an investment fund entity, which
27                                             indirectly owns approximately 11% of
28                                             Entropic Holdings LLC.

                                               3
                         SUPPLEMENTAL NOTICE OF INTERESTED PARTIES
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 1
      Fortress Credit Opportunities Fund (G)      Fortress Credit Opportunities Fund (G)
 2
      L.P.                                        L.P. is an investment fund entity, which
 3
                                                  indirectly owns approximately 16% of
 4
                                                  Entropic Holdings LLC.
 5
             For purposes of Section IV.2.b. of the Court’s Order, Plaintiff discloses the
 6
     following:
 7
      L3 Investment Holdings LP                   L3 Investment Holdings LP is an investor
 8
                                                  entity, which indirectly owns
 9
                                                  approximately 11% of Entropic Holdings
10
                                                  LLC.
11
             Finally, Defendants identified to Plaintiff the document attached hereto as
12
     Exhibit A, which appears to be a public filing with the Scottish Companies House, a
13
     United Kingdom government agency. This document indicates that as of July 24, 2017,
14
     Universities Superannuation Scheme Limited owned 75% or more of L3 Investment
15
     Holdings LP. Based on additional information available from Companies House, it
16
     appears this ownership remains current.             See https://find-and-update.company-
17
     information.service.gov.uk/company/SL024106/persons-with-significant-control (last
18
     visited February 24, 2025) (copy attached as Exhibit B).
19
             Given that L3 Investment Holdings LP indirectly owns approximately 11% of
20
     Entropic Holdings LLC, if Universities Superannuation Scheme Limited owns
21
     approximately 90% or more of L3 Investment Holdings LP, then such ownership would
22
     constitute indirect ownership of 10% or more of Entropic Holdings LLC.
23
             Publicly available information indicates that Universities Superannuation
24
     Scheme Limited is a trustee that runs and manages Universities Superannuation
25
     Scheme, which is a private pension scheme for universities and higher education
26
     institutions in the United Kingdom, available to academics (such as lecturers, teaching
27
     officers, and professors), researchers, and academic-related professional and support
28

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                           SUPPLEMENTAL NOTICE OF INTERESTED PARTIES
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 1 staff employed by UK universities and higher education institutions.                       See
 2 https://www.uss.co.uk/about-us/who-we-are          (last   visited    February   24,   2025);
 3 https://www.staff.admin.cam.ac.uk/latest-information-on-uss/2020-valuation/uss-
 4 pensions-at-cambridge-a-short-guide (last visited February 24, 2025, 2024).
 5         According to Companies House, Universities Superannuation Scheme Limited is
 6 a “[p]rivate company limited by guarantee without share capital.” See https://find-and-
 7 update.company-information.service.gov.uk/company/01167127 (last visited February
 8 24, 2025). As such, Plaintiff understands that Universities Superannuation Scheme
 9 Limited does not itself have any owners.
10         Out of an abundance of caution for the Court’s evaluation of possible
11 disqualification or recusal, Plaintiff submits that Universities Superannuation Scheme
12 Limited may indirectly own more than 10% of Entropic Holdings LLC.
13
14 Dated: February 25, 2025                         Respectfully Submitted,
15
                                          By:       /s/ Christina N. Goodrich
16
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                         SUPPLEMENTAL NOTICE OF INTERESTED PARTIES
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                      SUPPLEMENTAL NOTICE OF INTERESTED PARTIES
